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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 VALUE DRUG COMPANY, on behalf of itself
 and all others similarly situated,

                Plaintiff,                            Civil Action 1:22-mc-00013

                v.                                    Judge Matthew W. McFarland
                                                      Magistrate Judge Stephanie K. Bowman
 TAKEDA PHARMACEUTICALS U.S.A. et
 al,

                Defendants.


 PRASCO LABORATORIES'
           LABORATORIES’ MEMORANDUM IN OPPOSITION TO VALUE DRUG
CO.’S (1) MOTION TO COMPEL (DOC. 1) AND (2) MOTION TO TRANSFER (DOC. 2)
CO.'S

                               PRELIMINARY STATEMENT
       Plaintiff Value Drug Co. filed two motions against Prasco, LLC dba Prasco Laboratories

(“Prasco”) related to a subpoena ("Subpoena")
("Prasco")                       (“Subpoena”) Plaintiff served on Prasco at its principal place of

business in Mason, Ohio. Plaintiff served the Subpoena in litigation pending in the United States

District Court for the Eastern District of Pennsylvania (the "EDPA
                                                             “EDPA Litigation”).
                                                                   Litigation"). Prasco is not a

party to the EDPA Litigation, but several of its direct competitors are defendants in that case.

Nonetheless, Plaintiff seeks production of highly confidential and particularized customer sales

transaction data crucial to Prasco's
                            Prasco’s competition in the generic pharmaceutical market.

       Prasco objected to producing such competitively sensitive information that would identify

specific customer sales and pricing, but offered to produce (and now has produced) other

information proportionate to the needs of the case that would not unduly burden Prasco by

disclosing its most sensitive information to competitors. Prasco asked Plaintiff to accept nearly

four years'
     years’ worth of confidential profit and loss statements, inventory reports, and production

forecasts to allow Plaintiff to calculate market pricing information not linked specifically to
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particular customers, along with a customer list to let Plaintiff identify potential class members.

Plaintiff not only refused to accept that reasonable approach, but seeks to have this dispute heard

in the EDPA Litigation notwithstanding Plaintiff's
                                       Plaintiff’s failure to demonstrate the "exceptional
                                                                              “exceptional

circumstances” required under Rule 45 for transfer away from the compliance court convenient to
circumstances"

                                                            “An antitrust action does not come
the subpoena recipient. The Court should deny both motions. "An

with an automatic entitlement to force non-parties to reveal their competitive thinking."
                                                                               thinking.” In re Ebay

Seller Antitrust Litig., 2009 U.S. Dist. LEXIS 146473, *15 (W.D. Wash. Aug. 14, 2009).

       First, Plaintiff filed a Motion to Compel (ECF No. 1) seeking line-by-line production of

voluminous and highly confidential customer sales transaction data that would disclose the exact

pricing agreements Prasco arranged with specifically-identified customers. That production would

be disproportionate and impose undue burden on Prasco by disclosing its most sensitive

competitive data. Prasco is a private company that depends on keeping such data confidential to

remain competitive. See Declaration of Jonathan Lapps ("Lapps
                                                      (“Lapps Decl."),
                                                              Decl.”), Prasco's
                                                                       Prasco’s Executive Vice

President, Business Development, Ex. 1 hereto at ¶
                                                 ¶ 3-10, 15.

                                   Prasco’s customer transaction data to identify (i) amounts sold;
       Plaintiff purportedly needs Prasco's

(ii) net prices; and (iii) class members. (ECF No. 1 at 7.) Prasco, however, already produced

            years’ worth of confidential sales, inventory, and production reports that, together with
nearly four years'

the customer list also produced, satisfy Plaintiffs
                                         Plaintiff’s needs without identifying for Prasco's
                                                                                   Prasco’s

competitors how much Prasco charges particular customers. PRASCO 00129-221; Lapps Decl.,

¶ 14-15. A prior decision addressing a virtually verbatim request by Plaintiffs
¶                                                                    Plaintiff’s counsel in other

                                                Prasco’s summary data production is sufficient. In
generic drug antitrust litigation confirms that Prasco's

re Novartis & Par Antitrust Litig., 2019 U.S. Dist. LEXIS 191606, *28 (E.D. Pa. Nov. 5, 2019)

                               “provide summaries of this material where it deems fit”).
(ordering that non-party could "provide                                           fit").




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       Instead of following the holding in Novartis as a reasonable compromise, Plaintiff relies

heavily on In re Namenda Direct Purchaser Antitrust Litigation, 2017 U.S. Dist. LEXIS 173403,

*9 (S.D.N.Y. Oct. 19, 2017). That case, however, involved a far less onerous request. See Ex. 2

hereto (comparing and contrasting the requests here, in Novartis, and in Namenda). Plaintiffs
                                                                                   Plaintiff’s cite

to Namenda also employs selective quotation to obscure the fact that the non-party produced

hundreds of times less data than Prasco. (ECF No. 1 at 9, quoting Namenda but deleting "a
                                                                                       “a one-

page” before the phrase "outline
page"                   “outline of customer sales data is insufficient.”)
                                                           insufficient.")

       Second, Plaintiff filed a Motion to Transfer Motion to Compel (ECF No. 2). The Motion

to Transfer should be denied because this dispute does not present the "exceptional
                                                                       “exceptional circumstances"
                                                                                    circumstances”

that Rule 45 requires. The dispute is not so intertwined with the issues in the EDPA Litigation as

                court’s participation. This Court can determine the issues outlined above without
to require that court's

any special knowledge of the EDPA Litigation. Moreover, as a local nonparty uninvolved in the

underlying case, Prasco should not be required to defend in a distant venue. That is especially true

because the parties in that case depend only on their modifiable private agreement to protect

confidentiality instead of the court issuing a protective order doing so.

                                       BACKGROUND
       A.      Prasco Relies on Sensitive Customer Pricing Information to Compete

       Prasco is a private pharmaceutical company headquartered in Mason, Ohio. Lapps Decl.,

¶ 3. Founded in 2002, Prasco specializes in selling "authorized
¶                                                   “authorized generics,"
                                                                generics,” which are generic drugs

manufactured by the branded company but marketed under a private label. Id. Prasco competes

in that market primarily on the basis of price and customer relationships; Prasco's
                                                                           Prasco’s prices, therefore,

including historical prices offered to specific customers, are highly sensitive competitive data that

Prasco protects carefully. Id., ¶ 4-9. Prasco's
                                       Prasco’s historical pricing information, even as to products

that Prasco no longer sells or customers that Prasco no longer serves, would reveal key aspects of


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Prasco’s confidential and proprietary pricing methodology, as well as competitive market
Prasco's

information as to certain customers that, if known, would adversely affect Prasco's
                                                                           Prasco’s ongoing ability

to sell products to current or prospective customers. Id., ¶
                                                           ¶ 10.

                             “Confidential Pricing Information”
       Prasco maintains such "Confidential         Information" in strict confidence and

discloses Confidential Information only as needed within Prasco. Prasco does not disclose

Confidential Information voluntarily to third-parties. Nor does Prasco disclose the Confidential

Information to the brand partners whose products Prasco sells. Id., ¶
                                                                    ¶ 5-6. Prasco takes further

care not to disclose its Confidential Pricing Information to competitors in the generic

pharmaceutical market. Such competitors include, but are not limited to, the following defendants

in the EDPA Litigation: Endo Pharmaceuticals; Par Pharmaceutical; Watson Laboratories (n/k/a

Actavis Generics); Teva Pharmaceuticals USA; and Amneal Pharmaceuticals. Id., ¶
                                                                              ¶ 7.

       Prasco’s Confidential Pricing Information enables it to have a competitive advantage in the
       Prasco's

                               Prasco’s competitors would benefit to Prasco's
generic pharmaceutical market. Prasco's                              Prasco’s detriment by

                    Prasco’s Confidential Pricing Information. Prasco maintains the secrecy of its
obtaining access to Prasco's

Confidential Information, and that secrecy has economic value. Id., ¶
                                                                    ¶ 8, 10. Moreover, Prasco's
                                                                                       Prasco’s

                     Prasco’s Confidential Pricing Information as confidential information of their
customers also treat Prasco's

     Prasco’s customer agreements contain confidentiality provisions protecting the Confidential
own. Prasco's

Pricing Information from disclosure. Id., ¶
                                          ¶ 7.

       B.      Prasco’s
               Prasco's Relationship to the Authorized Generic at Issue, and Related Data

       As Plaintiff summarized, in 2009, the branded company Takeda Pharmaceuticals U.S.A.,

Inc. ("Takeda")
     (“Takeda”) obtained approval from the FDA to be the exclusive seller of Colcrys, an anti-

inflammatory tablet used to treat gout attacks and Familial Mediterranean Fever. In 2014, Prasco




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entered into an agreement with Takeda for Prasco to sell the authorized generic version of Colcrys

(“AG Colcrys").
("AG Colcrys”). Prasco sold AG Colcrys from 2015 until June 2018. Id., ¶
                                                                       ¶ 11.

       Prasco maintains line-by-line data for AG Colcrys transactions with specific customers,

                                                   “Transaction Data").
including volumes sold, prices, and discounts (the "Transaction Data”). The Transaction Data

           Prasco’s Confidential Pricing Information, and some of its most sensitive competitive
constitute Prasco's

information. Prasco does not even share the Transaction Data with Takeda. Id., ¶
                                                                               ¶ 6, 12.

       Like other detailed transaction data maintained by Prasco, this extensive line-by-line AG

Colcrys Transaction Data reveal Prasco's
                                Prasco’s pricing methodology for altogether different products

and customers. The Transaction Data further reveal Prasco's
                                                   Prasco’s pricing strategies that apply currently

both to prior AG Colcrys customers with whom Prasco has ongoing, broader pricing arrangements,

and new customers to whom the approaches evident in the Transaction Data will apply. It also

        Prasco’s pricing strategies for products generally, not just AG Colcrys. Id., ¶
reveals Prasco's                                                                      ¶ 14.

       As required by Prasco's
                      Prasco’s agreement with Takeda, Prasco regularly provided Takeda with

                               (“Transaction Reports")
AG Colcrys transaction reports ("Transaction Reports”) that effectively summarize the key,

material aspects of the line-by-line Transaction Data (id., ¶
                                                            ¶ 14.a-c.):

       •   Monthly and annual profit split reports - detailing, among other things (i) net
            sales; (ii) the gross amount billed; (iii) deductions, including (a) amounts
            actually allowed or taken (cash discounts, customer rebates, initial order
            discounts), (b) amounts accrued (rejected or returned goods, government
            rebates, charge backs, anticipated future shelf stock adjustments), and (c)
            adjustments to amounts previously accrued; and (iv) inventor supply prices,
            including the number of units sold.

       •   Monthly inventory reports - detailing (i) product inventory levels; (ii) the
            quantity of product shipped by Prasco; (iii) the quantity of product received;
            and (iv) the cost per unit.

       •   Production forecasts —
                                 – detailing monthly open orders and orders to be placed.




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       Prasco produced templates of these reports to Plaintiff on March 28, 2022, along with its

full agreements with Takeda and other notices related to those agreements. PRASCO 00001-128.

Prasco produced all of the confidential Transaction Reports on April 25, 2022 covering its entire

history selling AG Colcrys from 2015-2018. PRASCO 00129-221. That same day, Prasco

produced a confidential list of all customers to which it sold AG Colcrys. PRASCO 00222-23.

The data in the Transaction Reports for units sold and net sales are sufficient to determine the

amount of AG Colcrys sold by Prasco and the average net selling prices without linking such data

                                            Prasco’s competitive detriment. Lapps Decl., ¶
to any specific customer, which would be to Prasco's                                     ¶ 15.

The customer list also discloses fully the potential class members known to Prasco without needing

to review the Transaction Data to identify those same customers.

       C.      The EDPA Litigation

              1.      Procedural Status

       On August 5, 2021, Plaintiff filed a putative class action complaint alleging that in 2014,

Takeda and three generic pharmaceutical companies (Par, Watson, and Amneal) conspired to

reduce competition for Colcrys by entering into agreements delaying the entry of competing

generic drugs into the market even after Takeda’s
                                         Takeda's period of exclusivity expired on July 29, 2016.

(ECF No. 1, Value
            Value Drug Co. v. Takeda Pharmaceuticals, U.S.A., Inc., et al., No. 21-cv-3500 (E.D.

     (“PA ECF"
Pa.) ("PA ECF” 1)). Plaintiff asserts that under this agreement, Par replaced Prasco in July 2018

as seller of AG Colcrys. Plaintiff seeks to certify a class of all direct purchasers of branded or

generic Colcrys tablets from Takeda, Prasco, or Par at any time since July 29, 2016.

                                                 Plaintiff’s claims as to all but one of the parties
       On December 28, 2021, the court dismissed Plaintiffs

(due to a jurisdictional dispute) and allowed Plaintiff until January 18, 2022 to file an amended

                                                                    court’s ruling, but for the
complaint. (PA ECF No. 154). Plaintiff did not advise Prasco of the court's




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next three weeks, lacked any claims on which it could even pursue production. Plaintiff filed an

amended complaint on January 18, 2022, again not naming Prasco and alleging that the defendants

conspired to delay market entry of additional generic Colcrys products, thereby reducing the

supply of Colcrys and raising prices. (PA ECF No. 163). On February 1, 2022, the defendants

moved to dismiss the amended complaint (PA ECF Nos. 168-170), and on February 8, filed a joint

motion to stay discovery (PA ECF No. 171). The court substantially denied the motion to stay on

February 11. (PA ECF No. 173). On March 30, the court denied in part the motions to dismiss

the amended complaint. (PA ECF No. 207).

               2.      Treatment of Confidential Information

       On October 26, 2021, the parties to the EDPA Litigation moved jointly for the entry of a

protective order to safeguard confidential information produced in discovery. (PA ECF No. 100).

The court denied the motion that very same day, stating:

       The parties may provide for confidentiality in their private discovery by way of a
       confidentiality agreement consistent with Glenmede Trust Co. v. Thompson, 56
       F.3d 476, 483 (3d Cir. 1995). We will, upon Motion, review a claim for breach of
       a private confidentiality agreement related to this case.
       As detailed in our Policies, we review confidentiality over specific filings in Court
       upon the filing of a motion (before unilaterally sealing) and our applying the
       exacting common law right of access standard or possible First Amendment strict
       scrutiny standard under In re: Avandia Mktg., Sales Practices and Products Liab.
       Litig. 924 F.3d 662, 671-73 (3d Cir. 2019).
(PA ECF No. 101 at PagelD
                   PageID 1, emphasis added).

       Accordingly, the court did not enter a protective order for discovery and did not enter an

order generally governing the treatment of confidential information for court filings or at an

eventual trial. The parties entered into a "Protective
                                           “Protective Order Agreement"
                                                             Agreement” per the court's
                                                                                court’s ruling. (PA

ECF No. 101-1). The Protective Order Agreement allows information produced in the parties'
                                                                                  parties’

“private discovery"
"private discovery” to be designated as Confidential or Highly Confidential, as Plaintiff described.



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       On April 13, 2022, after Plaintiff filed its Motion to Compel, Plaintiff moved the court in

the EDPA Litigation to modify the Protective Order Agreement by adding a designation for

“outside counsel only"
"outside         only” that would apply to production by non-parties such as Prasco where

appropriate. (PA ECF No. 218). Takeda opposed the designation except as to one non-party (not

Prasco) against whom Takeda is litigating separately. (PA ECF No. 229). Accordingly, because

the Protective Order Agreement is a private agreement between the parties, not an order, the court

       Plaintiff’s motion to the extent an "outside
denied Plaintiff's                         “outside counsel only"
                                                            only” designation would be available

to other non-parties. (PA ECF No. 234 (Ex. 3 hereto), adopted by PA ECF No. 237 (Ex. 4 hereto).

       D.      Plaintiff’s
               Plaintiff's Demands for Prasco’s
                                       Prasco's AG Colcrys Transaction Data

               1.      Demands Before the December 28, 2021 Dismissal

       On September 13, 2021, shortly after filing the original complaint, Plaintiff subpoenaed

Prasco. (ECF No. 1, Ex. 1.) Plaintiffs
                            Plaintiff’s subject Request No. 11 for transaction data generated after

January 1, 2013 is copied in the center column of Ex. 2 hereto. On September 22, Prasco responded

with timely objections, including that the requests are not proportionate, are unduly burdensome

(especially in light of pending motions to dismiss), and seek highly confidential information. (ECF

No. 1-1 at 16.) The parties met and conferred on September 29 and October 13, 2021. On October

25, 2021, Plaintiff sent a written proposal noting that the parties in the EDPA Litigation were

finalizing a "protective
             “protective order agreement"
                               agreement” that Plaintiff was "willing
                                                             “willing to abide by."
                                                                               by.” Id. at 20-23. On

November 9, 2021, Prasco responded that it would continue evaluating Plaintiffs
                                                                     Plaintiff’s proposal. Id. at

36-37. In the meantime, on December 28, the court dismissed Plaintiffs
                                                            Plaintiff’s claims.

               2.      Plaintiff’s
                       Plaintiff's Re-Engagement After Four Months of Silence

       On March 4, 2022, Plaintiff contacted Prasco for the first time since Prasco's
                                                                             Prasco’s November 9,

                                              “recently” denied defendants'
2021 email. Plaintiff conveyed that the court "recently"        defendants’ motion to stay




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                                  Prasco’s production. Id. at 36. On March 7, Prasco responded
discovery and sought an update on Prasco's

that given the total lack of communication, Prasco presumed Plaintiff deferred production in light

of the motions that led to the December dismissal and the new motions to dismiss the amended

complaint, as would be least wasteful and most protective of non-party Prasco. Nonetheless,

Prasco would move forward on open objections and productions. Id. at 35-36.

       On March 18, 2022, Prasco offered that, as a compromise, it would produce summary

transaction data (the Transaction Reports) rather than the customer-specific line-by-line

Transaction Data constituting Prasco's
                              Prasco’s "most
                                       “most sensitive business information."
                                                                information.” Prasco advised

further that "[t]he
             “[t]he burden of such a detailed production would also be substantial and, in our view,

                     undue.” Id. at 32. On March 23, Plaintiff rejected that offer, citing Novartis
disproportionate and undue."

                                                                          Prasco’s Transaction
and the Protective Order Agreement, and asserting without foundation that Prasco's

Data cannot be sensitive because it is "stale."
                                       “stale.” (ECF No. 1-1 at 30.)

       On March 28, 2022, Prasco produced its transactional documents with Takeda, including

templates of the Transaction Reports sufficient for Plaintiff to understand what Prasco offered to

produce. Id. at 28. Prasco also noted as to the Transaction Data that the Protective Order

Agreement is not an order but a modifiable document executed between the parties that can change

at their discretion. Id. at 27. Consistent with the Lapps Decl., Prasco advised that the Transaction

            “stale,” "given
Data is not "stale," “given what it reveals about Prasco's
                                                  Prasco’s relationships, methodology, and analytics

applicable to current or future opportunities."
                                opportunities.” Id. Further, producing the Transaction Data would

be an undue burden because the pending motions to dismiss may bar Plaintiff's
                                                                  Plaintiff’s claims for the

second time in three months and the Transaction Reports provided to Takeda over almost four

years would be produced instead. Id. at 27-28.




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       On March 30, 2022, Prasco pin-cited for Plaintiff the Transaction Report templates

                        Prasco’s agreement with Takeda, id. at 26, and explained that the "detail
attached as exhibits to Prasco's                                                          “detail

outlined in those exhibits provides a basis to examine the market in a number of ways, including,

for example, calculation of Prasco's
                            Prasco’s per unit net sales for the product by examining the net sales

and number of units detailed in the profit split report."
                                                 report.” Id. Prasco also offered to supplement those

reports with a customer list for AG Colcrys. Id. Plaintiff rejected this offer on April 1, 2022.

Nonetheless, as outlined above, Prasco has now produced all the summary Transaction Reports

provided to Takeda, as well as a customer list. Accordingly, as set forth below, this Court should

determine that Prasco fulfilled its obligation, protect Prasco from further disproportionate burdens

on its most confidential information, and not transfer the matter to the EDPA Litigation.

                                      – MOTION TO COMPEL
                       LEGAL STANDARD —
       Discovery sought by subpoena under Rule 45 must satisfy the proportionality requirement

of Rule 26. See Progressive Health & Rehab Corp. v. Glenwood Sys. LLC, 2017 U.S. Dist. LEXIS

177446, *5 (S.D. Ohio Oct. 26, 2017). A court considers the need of the requesting party for the

documents, the breadth and particularity of the documents, and the fact that the subpoenaed entity

is not a party to the litigation. See Fed. R. Civ. P. 45 & 26(b)(1); Scotts Co., LLC v. Cent. Garden

& Pet Co., 2021 U.S. Dist. LEXIS 80810, *1041
                                        *10-11 (S.D. Ohio Apr. 22, 2021); In re: Modern

Plastics Corp., 890 F.3d 244, 251 (6th Cir. 2018). The court must also consider whether the

subpoena seeks sensitive information and protect it accordingly. See Fed. R. Civ. P. 45(d); In re

                                                                                   “competitively
Ebay Seller Antitrust Litig., supra (denying motion to compel non-party to produce "competitively

          documents” because “[a]n
sensitive documents"         lamn antitrust action does not come with an automatic entitlement

                                                 thinking”). Such protection is warranted here.
to force non-parties to reveal their competitive thinking").




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                                    – MOTION TO COMPEL
                           ARGUMENT —

       Under the foregoing legal standard, the Motion to Compel should be denied. Prasco

already produced four years of confidential net sales, inventory, and production reports that, with

                                    Plaintiff’s needs proportionally. A prior decision addressing a
the customer list produced, satisfy Plaintiff's

                              Plaintiff’s counsel in other generic drug antitrust litigation confirms
virtually verbatim request by Plaintiffs

     Prasco’s summary data are sufficient. Requiring further production of sensitive data would
that Prasco's

                                                       Prasco’s confidentiality as a non-party.
be disproportionate and not sufficiently protective of Prasco's

       A.      There is No Basis for Prasco to Produce Its Most Sensitive Information

       Plaintiff cannot dispute that the Transaction Data constitute Prasco's
                                                                     Prasco’s most sensitive

competitive information or the care Prasco takes to protect its Transaction Data from disclosure,

including not even disclosing such data to brand partners like Takeda. Plaintiff cannot dispute that

Prasco competes in the marketplace based on price and customer relationships or that disclosing

the Transaction Data to Prasco's
                        Prasco’s competitors, some of whom are parties to the EDPA Litigation,

would cause Prasco irreparable harm by showing its competitors how it prices products for specific

                    Prasco’s competitors would like to take its business. Nor can Plaintiff
customers from whom Prasco's

dispute that disclosing pricing methodology for AG Colcrys, even though not sold by Prasco any

longer, would reveal methodology applicable to customer relationships and pricing today. Plaintiff

           Prasco’s customer Transaction Data "stale"
only calls Prasco's                           “stale” in conclusory fashion without factual

foundation. The Decl. of Jonathan Lapps, Prasco's
                                         Prasco’s Executive Vice President who helped manage

its relationship with Takeda for AG Colcrys, puts Plaintiffs
                                                  Plaintiff’s unfounded assertion to rest.

       For all of the reasons to which Mr. Lapps attested, Prasco asked Plaintiff for a simple,

reasonable compromise —
                      – accept summary data (the Transaction Reports) that Prasco provided to

Takeda showing profit and loss, product inventory, and product production without making Prasco




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disclose data showing its pricing and sales for each specific customer. Prasco, therefore, asked

only to keep undisclosed the data that, if disclosed, would cause irreparable harm. Under Rule 45,

courts must protect a non-party having nothing to do with the underlying case from such harm.

See, e.g., In re Ebay Seller Antitrust Litig., supra.

        Plaintiff refused, even though the Transaction Reports suffice for Plaintiff to determine the

amount of AG Colcrys sold and the average net selling price without linking data to any specific

customer, as Lapps attested at ¶
                               ¶ 15. And as discussed in sections B and C below, the case law is

clear that the Transaction Reports and customer list produced by Prasco suffice in antitrust

litigation without invading a non-party's
                              non-party’s most sensitive customer-specific information.

        Plaintiff argues that the confidentiality safeguards in the EDPA Litigation will, in any

               Prasco’s most sensitive Transaction Data. Contrary to Plaintiffs
event, protect Prasco's                                              Plaintiff’s argument, and

unlike the cases cited on page 13 of the Motion to Compel, there is not and will not be a protective

order in the EDPA Litigation. See PA ECF No. 101 (denying motion for protective order and

                                           “private” discovery). The parties to the EDPA
allowing agreement between the parties for "private"

Litigation entered into a Protective Order Agreement on a "private"
                                                          “private” basis. Like any agreement,

the parties may modify that agreement. Although the Protective Order Agreement now provides

a Highly Confidential designation limiting disclosures to party representatives, the parties could

decide that such a designation is too restrictive and that party representatives, including Prasco's
                                                                                            Prasco’s

competitors, need greater review and input as to confidential information produced as the case

proceeds to depositions, expert reports, settlement discussions, and trial.

        In that event, Prasco would not have any recourse if this Court will not preclude disclosure

of the Transaction Data now. The court in the EDPA Litigation will not intercede, as it made clear

in its order denying entry of a protective order. That is underscored by Plaintiff's
                                                                         Plaintiff’s attempt earlier




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                                                              “outside counsel only"
this month to modify the Protective Order Agreement to add an "outside         only” designation

for the benefit of non-parties such as Prasco. The court refused to modify the order because Takeda

opposed (citing its desire to review information directly, beyond its outside counsel’s
                                                                              counsel's review), and

                                       parties’ private agreement. If this Court will not protect
the court would not interfere with the parties'

Prasco’s most sensitive information, there is no guarantee anyone will.
Prasco's

       That is especially true as the case enters public proceedings beyond "private
                                                                            “private discovery."
                                                                                     discovery.”

The court in the EDPA Litigation refused to order such protection, citing an "exacting
                                                                             “exacting common

law right of access"
             access” in public proceedings. If Prasco's
                                               Prasco’s Transaction Data are produced, nothing

may prevent their introduction into the public record after discovery (e.g., summary judgment or

trial). In fact, on April 20, 2022, adopting the Special Master's
                                                         Master’s recommendation to grant "outside
                                                                                          “outside

        only” protection to a different non-party but deny such protection to others as warranted,
counsel only"

                         “nothing in this order affects public access to information filed or
the court repeated that, "nothing

presented in court."
             court.” (PA ECF No. 237 (Ex. 4) at PagelD
                                                PageID 2, emphasis added).

       A non-party located in this District should not have to monitor litigation in Pennsylvania

continually and prepare to intervene whenever public disclosure of its most sensitive information

is threatened. This Court can prevent that by drawing the reasonable line between summary data

and specific customer data outlined below. See Spartanburg Reg'l
                                                           Reg’l Healthcare Sys. v. Hillenbrand

Indus., 2005 U.S. Dist. LEXIS 30590 (W.D. Mich. Oct. 12, 2005) (rejecting subpoena for sales

information that, if disclosed, would ruin the non-party's
                                               non-party’s strategy "since
                                                                    “since the information would,

most likely, become public during the ... proceedings"
                                          proceedings” despite the existence of a protective order).

       B.      Prasco’s
               Prasco's Productions Satisfy Plaintiff’s
                                               Plaintiff's        Needs,    and    Further
               Productions Would be Disproportionate

                       Prasco’s Transaction Data to identify (i) amounts sold; (ii) net prices; and
       Plaintiff seeks Prasco's

(iii) class members. (ECF No. 1 at PagelD
                                   PageID 7). The first two items are satisfied by the Transaction



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Reports produced, which itemize both the units sold and Prasco's
                                                        Prasco’s net sales without identifying

specific customer information. The third item is satisfied by Prasco's
                                                              Prasco’s confidential customer list

that it produced. Additional productions would violate Rule 45 and should be denied. See, e.g.,

Suture Express, Inc. v. Cardinal Health 200, LLC, 2014 U.S. Dist. LEXIS 162021, *1-2 (N.D. Ill.

               (finding that non-party to antitrust action did not need to produce sales data or
Nov. 18, 2014) (fmding

        financial information, because the non-party already offered to provide aggregate sales
related fmancial

                                   purposes).1
information sufficient to relevant purposes).1

          Requiring production of the Transaction Data would be disproportionate. A federal court

already ruled that summary productions like Prasco's
                                            Prasco’s constitute a proper response to Request No.

11 of the Subpoena. In Novartis, the plaintiff, represented by the same counsel as Plaintiff here,

served a virtually identical request in generic drug antitrust litigation. See 2019 U.S. Dist. LEXIS

191606, at *7-8 (E.D. Pa. Nov. 5, 2019) and Ex. 2 hereto (comparing data requests in Novartis and

                                                                                        Plaintiff’s
here, and showing that the addition in subsection (a) of items (xx) and (xxii) (sic) to Plaintiffs

request is the only substantive difference between Request 11 here and Request 7 in Novartis).

         Next, the plaintiff filed a substantially similar (at times nearly verbatim) motion to compel

                                                                                          here.2 The
as the motion filed here. In fact, the plaintiff relied on Namenda just as Plaintiff does here.2




1         See also Audio MPEG, Inc. v. HP Inc., 2017 U.S. Dist. LEXIS 34913, *8 (N.D. Cal. Mar. 10, 2017) (denying
request for non-party sales information where movant could obtain relevant damage information from alternative
sources); Cash Today of of Tex. v. Greenberg, 2002 U.S. Dist. LEXIS 20694 (D. Del. Oct. 23, 2002) (concluding that
proposed conditions on a non-party subpoena permitting the non-party to produce "computer“computer disks or reports
                           documents” would "substantially
summarizing the relevant documents"           “substantially reduc[e] the burden of complying with the subpoena such
that the burden is not ‘undue’”).
                       `undue").

2
                    Pltf’s Mem. ISO Motion to Compel, Novartis, 2:19-mc-00149 (Doc. 1-1) at 13. See also Pltf's
         See, e.g., Pltf's                                                                                         Pltf’s
                                                                         (“Request 7 of the subpoena seeks Alembic's
Mem. ISO Motion to Compel, Novartis, 2:19-mc-00149 (Doc. 1-1) at 12 ("Request                                Alembic’s
generic Exforge transaction-level sales data, including data showing returns, chargebacks, rebates, and other price
adjustments—basically data from which the Plaintiffs can calculate the net amount of generic Exforge purchased from
Alembic and the net amount paid for this generic Exforge.");
                                                   Exforge.”); compare id. ("Plaintiffs
                                                                           (“Plaintiffs and their experts will use these
inputs to model the quantities that Plaintiffs would have purchased, and the (lower) prices Plaintiffs would have paid
for brand and generic Exforge absent the anticompetitive conduct.")
                                                           conduct.”) with ECF No. 1 at PagelD
                                                                                          PageID 7 ("Value
                                                                                                     (“Value Drug and


                                                          14
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Novartis court, however, ruled that while the non-party did have to produce transaction data, the

request that is virtually identical to the request at issue here is overly broad, too particular, and too

burdensome on its face. 2019 U.S. Dist. LEXIS 191606 at *27. The court allowed the non-party

   “provide summaries of this material where it deems fit.”
to "provide                                           fit." 2019 U.S. Dist. LEXIS 191606 at *28.

        Novartis is dispositive.        In both cases, the same counsel served virtually the same

disproportionate request for Transaction Data for the same reasons in the same kind of litigation.

Just as that request was too broad on its face in Novartis, the request is too broad here. The

summary Transaction Reports and customer list Prasco already produced satisfy its requirements

exactly as the transaction data summaries ordered to be produced in Novartis.

        C.       Plaintiff’s
                 Plaintiff's Authority Supports Prasco’s
                                                Prasco's Position or Is Irrelevant

        Plaintiff cites other sections of Novartis and additional authority for the common sense

                                                                                           PageID
notion that transaction data discovery is necessary in many antitrust cases. (ECF No. 1 at PagelD

6-7, 8, 10.) Prasco does not take issue with that notion for purposes of this dispute, and, therefore,

produced its confidential Transaction Reports containing such data. Plaintiff also cited irrelevant

opinions involving settlements, class certification, Daubert motions, or confidentiality orders

having nothing to do with the issues here, requiring no rebuttal. Id. at 8-9, 13.

        Plaintiff’s only substantive argument arises under Namenda, that, somehow
        Plaintiff's

                            “summary” of data is inadequate. Crucially, however, that argument
notwithstanding Novartis, a "summary"

relies on a selective quotation of Namenda obscuring the fact that Prasco offered to produce (and

now has produced) at least hundreds of times more data than the non-party in that case. See ECF

         PageID 9, quoting Namenda but deleting "a
No. 1 at PagelD                                 “a one-page"
                                                   one-page” before the phrase "outline
                                                                               “outline of




its experts will use these inputs to model the quantities that would have been purchased and the (lower) prices that
class members would have paid absent the challenged anticompetitive conduct.).



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customer sales data is insufficient.”                          “one page"
                       insufficient." Prasco did not produce a "one page” summary. It produced

hundreds of pages covering the entire history of its sales of AG Colcrys. Namenda rejected an

overly truncated, arguably contrived summary, but Prasco produced a full, complete, and

comprehensive summary that it actually provided to Takeda in real time over nearly four years —
                                                                                              –

well before this litigation existed. There is no appropriate comparison between the two cases.

       Notwithstanding the fact that Prasco is not asserting a traditional undue burden argument

based on the time and effort required to assemble the Transaction Data (a subject to which Plaintiff

devotes much unnecessary attention), Plaintiff also argues incorrectly that Namenda is

“instructive” here with respect to burden. (ECF No. 1 at PageID 10-11). Even if Plaintiff shifts
"instructive"

such an argument to a proportionality analysis, however, the Transaction Data requests here and

in Novartis are far more extensive and unnecessary than those in Namenda. See Ex. 2. Novartis

is the correct comparison, not Namenda. There is no basis to require production of the Transaction

Data given production of the Transaction Reports and customer list, and the Motion to Compel

should be denied. Moreover, as discussed below, this Court should make that determination.

                                    – MOTION TO TRANSFER
                     LEGAL STANDARD —
       Absent consent, Rule 45(f) permits a compliance court to transfer a motion to compel to

the issuing court only upon a finding of exceptional circumstances. The party moving for transfer

bears the burden of showing that exceptional circumstances exist. Williams
                                                                  Williams v. Lasik Vision
                                                                                    Vision Inst.,

LLC, 2021 U.S. Dist. LEXIS 169249, at *3 (S.D. Ohio Sept. 3, 2021). The "prime
                                                                        “prime concern should

be avoiding burdens on local nonparties subject to subpoenas."
                                                   subpoenas.” Id. A court must not assume "that
                                                                                           “that

the issuing court is in a superior position to resolve subpoena-related motions."
                                                                        motions.” Id. Courts

deciding whether to transfer a motion to compel consider case complexity, procedural posture and

duration, the nature of the issues pending before or already resolved by the issuing court, and

whether the non-party would be unduly burdened. Id. Transfer is only appropriate where the


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         “in ensuring the efficient, fair and orderly progress of ongoing litigation before the issuing
interest "in

court” outweighs the non-party's
court"               non-party’s interest in "obtaining
                                             “obtaining local resolution of the motion."
                                                                                motion.” Id.

                                   – MOTION TO TRANSFER
                          ARGUMENT —
       A.      There Are No Exceptional Circumstances Warranting Transfer
       Plaintiff did not meet its burden to prove exceptional circumstances or cite even once to

that standard. Plaintiff argued only that the court in the EDPA Litigation is familiar with the "facts
                                                                                                “facts

                          case” and has a strong interest in managing its case schedule. (ECF
of the complex underlying case"

         PageID 4, 8). But that is true of any case. Plaintiff omitted the critical consideration that
No. 2 at PagelD

there is nothing exceptional about the Subpoena beyond this Court's
                                                            Court’s ability to resolve.

       Moreover, given the lack of a protective order in the EDPA Litigation, there is actually an

exceptional circumstance warranting this Court retaining jurisdiction and deciding whether

Prasco must produce its most sensitive Transaction Data. As explained fully above in Section A

opposing the Motion to Compel, there is not and will not be any protective order in the EDPA

Litigation. Protection of confidential data during what the court called "private"
                                                                         “private” discovery

depends entirely on the agreement of the parties to that litigation. They may change that agreement

at any time, for any reason, as they perceive the needs of the case to change and their clients,

          Prasco’s competitors, want more direct knowledge and involvement as to testimony,
including Prasco's

motions, exhibits, and expert reports relying on confidential information.           Moreover, once

produced, the information will almost certainly become public if the case proceeds far enough.

For that reason, and the additional reasons discussed below, this Court should determine whether

Prasco must produce the Transaction Data and, if so, what protection it should be afforded.

       1.      This Dispute Does Not Require Special Knowledge of the EDPA Litigation
       Transfer is wholly unnecessary because this discovery dispute is not intertwined with, or

otherwise related to, any procedural or substantive matters at issue in the EDPA Litigation. See,


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e.g., Hausauer v. Trustedsec, LLC, No. 1:20mc101, 2020 U.S. Dist. LEXIS 217812, at *17-20

(N.D. Ohio Nov. 20, 2020) (denying plaintiff's
                                   plaintiff’s motion to transfer where the subject discovery

dispute was a narrow, fact-specific issue that was unrelated "to
                                                             “to any of the complex procedural or

                                           litigation").33 This Court can determine whether the
substantive issues in the underlying . . . litigation”).

Transaction Data merits protection under Rule 45 because the data are sensitive to a local non-

party that is not even involved in the EDPA Litigation or known to that court. As explained above,

the lack of a protective order in that litigation actually makes this Court the better forum for such

a determination. Likewise, this Court can easily compare Request No. 11 in the Subpoena to the

almost identical request served by the same Plaintiffs
                                            Plaintiff’s counsel in the similar Novartis antitrust

litigation and determine whether producing the Transaction Data would be disproportionate

compared to producing the Transaction Reports, just as it was in Novartis.

         2.        The Court Need Not Rely on Previous Decisions in the EDPA Litigation

         Although Plaintiff already filed two motions to compel in the EDPA Litigation, the Court

does not have to rely on those outcomes to decide the issues here. One motion to compel concerns

                                        searches.4 The other motion to compel concerns proposed
the starting and end dates for document searches.4

       terms.5 Neither court would rely on the rulings as to those motions because the issues here
search terms.5

are completely different. Which search terms to use and how far back to look have nothing to do


3
3
         See also Platinum Props. Investor Network v. AMCO Ins. Co., No. 15-mc-213-JAR-TD,
                                                                                   15-mc-213-JAR-TJJ, 2015 U.S. Dist.
LEXIS 137624, at *15-16 (D. Kan. Oct. 8, 2015) (denying motion to transfer where the issues raised by the subject
                       “not appear to be intertwined with issues already decided in the"
motion to compel did "not                                                               the” underlying action); FDIC v.
Galan-Alvarez, No. 1:15-mc-00752 (CRC), 2015 U.S. Dist. LEXIS 130545, at *10-11 (D.D.C. Sept. 4, 2015) (denying
motion to transfer because the issuing court was "in
                                                  “in no better position than"
                                                                         than” the compliance court to rule on the subject
motion to quash where it presented "a“a legal question severable from the merits of the underlying litigation”
                                                                                                      litigation" that did
“not necessitate wading into the merits or intricacies”
"not                                       intricacies" of the underlying case); Inter-American Dev. Bank v. Venti
                                                                                                                Venti S.A.,
No. 16-mc-21016-Goodman, 2016 U.S. Dist. LEXIS 137762, at *21-24 (S.D. Fla. Oct. 4, 2016) (denying motion to
                    “independent legal issues”
transfer where the "independent         issues" raised by the subject subpoena could be "adequately
                                                                                           “adequately dealt with by the
compliance court”).
             court").

4
4
         See Special Master Recommended Order No. 1, PA ECF No. 210.

5
         See Mot. to Compel, PA ECF No. 182.


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                  non-party’s most sensitive information.
with protecting a non-party's                                    Accordingly, there is no risk of

inconsistent rulings warranting transfer. See Platinum Props. Investor Network, 2015 U.S. Dist.

LEXIS 137624, at * 13-14 (declining to find exceptional circumstances warranting transfer where

the motion to compel previously granted by the issuing court did not involve the same issues as

the discovery dispute pending before the compliance court); Daggett v. Scott, 2015 U.S. Dist.

LEXIS 68385, at *10 (D. Colo. May 26, 2015) (declining to find exceptional circumstances

warranting transfer where the issuing court’s                      “little (if anything) to do with"
                                      court's previous rulings had "little                     with”

the discovery dispute pending before the compliance court).

       The cases Plaintiff cited all involve disputes closely related to the procedural and

substantive issues in underlying litigation. That is especially true of this Court's
                                                                             Court’s decision in

Williams
Williams v. Lasik Vision Inst., LLC, supra. In that case, the Court granted a motion to transfer

        “the records and documents sought by the subpoena at issue have already been the subject
because "the

of several motions and rulings in the underlying litigation.”                        Prasco’s
                                                 litigation." That is not true here. Prasco's

Transaction Data have not been the subject of any such ruling.

       The other cases Plaintiff cited are equally beside the point. See Parker Compound Bows,

Inc. v. Hunter's
        Hunter’s Mfg. Co., 2015 U.S. Dist. LEXIS 159750, at *4 (N.D. Ohio Nov. 19, 2015)

(finding exceptional circumstances warranting transfer because the subject motion raised "a
                                                                                         “a

number of interlocking issues from the underlying litigation”);
                                                  litigation"); FTC v. A+ Fin. Ctr., LLC, 2013

U.S. Dist. Lexis 172472, at *1-2 (S.D. Ohio Dec. 6, 2013) (finding
                                                          (fmding exceptional circumstances

          plaintiff’s subpoena sought the production of documents from a non-party related to the
where the plaintiffs

non-party’s communication with the defendant in the underlying litigation); Patriot Nat'l
non-party's                                                                         Nat’l Ins.

Group v. Oriska Ins. Co., 973 F. Supp. 2d 173, 176 (N.D. N.Y. 2013) (granting motion to transfer




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where the subject discovery dispute was whether the requested documents were relevant to the

underlying litigation).

        B.      Transfer Would Place an Undue Burden on Prasco.
       Prasco readily concedes that its regular counsel in Cincinnati (who does not practice out of

    firm’s small Philadelphia office) can participate in a Zoom or telephone hearing in the EDPA
his firm's

Litigation if the court allows. That is not the point. The concern under Rule 45 is the burden on

local non-parties, not their counsel. Requiring Prasco to oppose Plaintiff's
                                                                 Plaintiff’s Motion to Compel in

the EDPA Litigation would require Prasco to defend its uniquely-situated confidentiality concerns

in the midst of a fast-moving, multifaceted antitrust case in a distant forum in which there are

already 242 docket entries and a course of dealing on a host of issues with which Plaintiff is highly

familiar but Prasco is not. That is an unfair advantage for Plaintiff compared to resolving the

dispute in this Court, where neither party is litigating this matter and the slate is clean.

       Moreover, this dispute is, understandably, just one of many competing issues on the docket

of the court in the EDPA Litigation. Given the undisputed sensitivity of Prasco's
                                                                         Prasco’s confidential

customer data and the threat of irreparable harm if the data were disclosed, Prasco is entitled to

have the Court in its local District consider the issues without regard to competing case

management considerations.        Rule 45 requires "exceptional
                                                   “exceptional circumstances”
                                                                circumstances" to disturb the

presumption that the dispute will be heard here for Prasco's
                                                    Prasco’s protection. Plaintiff failed to cite or

prove any such exceptional circumstance. Its Motion to Transfer should be denied, and the Court

should likewise deny the Motion to Compel.




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                                             Respectfully submitted,


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                                                            for Prasco Laboratories


                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of April 2022, I served the foregoing document on all

                              Court’s electronic filing system.
counsel of record through the Court's


                                             /s/ Alan H. Abes
